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7     Attorneys for Defendant MOHAMMED AL TEKREETI, D.M.D.
8                                UNITED STATES DISTRICT COURT
9
                               SOUTHERN DISTRICT OF CALIFORNIA
10

11    BORREGO COMMUNITY HEALTH                   Case No.: 22CV1056 TWRNLS
      FOUNDATION, a California nonprofit
12
      Public benefit corporation,
                                                 ANSWER TO COMPLAINT BY
13                                               DEFENDANT MOHAMMED AL
                  Plaintiff,
14
                                                 TEKREETI, D.M.D.
                                                 AND DEMAND FOR JURY
            v.
15

16    AREN HEBETS, an individual;                JURY TRIAL DEMANDED
      MIKIA WALLIS, an individual; DIANA
17    THOMPSON, f/k/a DIANA TRONCOSO, an         Complaint filed: 7.19.2022
      individual; HARRY ILSLEY, an individual;
18
      DENNIS NOURSE, an individual; MIKE
19    HICKOK, an individual; CHUCK KIMBALL,
      an individual; PREMIER HEALTHCARE
20    MANAGEMENT, INC., a California
21
      Corporation; SUMMIT HEALTHCARE
      MANAGEMENT, INC., a California
22    Corporation; DARYL PRIEST, an individual
      NICHOLAS PRIEST, an individual; TRAVIS
23    LYON, an individual;
24
      HUSAM E. ALDAIRI, D.D.S., an
      individual; ALDAIRI DDS, INC., a
25    California corporation; AYED
      HAWATMEH, D.D.S., an individual;
26
      HAWATMEH DENTAL GROUP,
27    P.C., a California Corporation; ALBORZ
      MEHDIZADEH, D.D.S., an
28    individual; ALBORZ MEHDIZADEH, INC., a
      California Corporation; JILBERT
                                                   1

                 ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                     AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.773 Page 2 of 90



1     BAKRAMIAN, D.D.S., an individual;
      MOHAMMED ALTEKREETI, D.D.S., an
2
      individual; MAGALY VELASQUEZ, D.D.S.,
3     an individual; MAGALY M. VELASQUEZ
      DDS PROFESSIONAL DENTAL CORP., a
4     California Corporation; ARAM
5
      ARAKELYAN, D.D.S., an individual; NEW
      MILLENNIUM DENTAL GROUP OF
6     ARAM ARAKELYAN, INC., a California
      Corporation; MICHAEL HOANG, D.M.D., an
7     individual; WALEED STEPHAN, D.D.S., an
8
      individual; W.A. STEPHAN, A DENTAL
      CORPORATION, a California Corporation;
9     SANTIAGO ROJO, D.D.S., an individual;
      SANTIAGO A. ROJO, D.D.S., INC., a
10
      California Corporation; MARCELO
11    TOLEDO, D.D.S., an individual; MARCELO
      TOLEDO, D.D.S., INC., a California
12    corporation; MARLENE THOMPSON,
      D.D.S., an individual; MARLENE
13
      THOMPSON, D.D.S., INC., a California
14    Corporation; DOUGLAS NESS, D.D.S., an
      individual; NESS DENTAL CORPORATION,
15    a California Corporation; GEORGE JARED,
      D.D.S., an individual; GEORGE JARED,
16
      D.D.S., INC., a California corporation;
17    JAMES HEBETS, an individual; THE
      HEBETS COMPANY, a Missouri corporation;
18    and DOES 1- 250, inclusive.
19
                     Defendants.                      /
20
      TO PLAINTIFF HEREIN AND TO ITS ATTORNEY OF RECORD:
21
             COMES NOW defendant MOHAMMED AL TEKREETI, D.M.D. (hereinafter "defendant"), in
22
      response to the complaint (hereinafter "complaint") of plaintiff BORREGO COMMUNITY HEALTH
23
      FOUNDATION (hereinafter "plaintiff"), and defendant hereby demands a jury trial on the Complaint and
24
      answers the Complaint by admitting, denying, and alleging, as follows:
25
             1.      Answering paragraph 1 of the complaint, this answering defendant lacks sufficient
26
      knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27
      complaint and therefore denies same.
28


                                                           2

                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.774 Page 3 of 90



1            2.      Answering paragraph 2 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            3.      Answering paragraph 3 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            4.      Answering paragraph 4 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           5.      Answering paragraph 5 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           6.      Answering paragraph 6 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           7.      Answering paragraph 7 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           8.      Answering paragraph 8 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           9.      Answering paragraph 9 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           10.     Answering paragraph 10 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.775 Page 4 of 90



1            11.     Answering paragraph 11 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            12.     Answering paragraph 12 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            13.     Answering paragraph 13 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           14.     Answering paragraph 14 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           15.     Answering paragraph 15 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           16.     Answering paragraph 16 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           17.     Answering paragraph 17 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           18.     Answering paragraph 18 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           19.     Answering paragraph 19 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
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1            20.     Answering paragraph 20 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            21.     Answering paragraph 21 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            22.     Answering paragraph 22 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           23.     Answering paragraph 23 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           24.     Answering paragraph 24 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           25.     Answering paragraph 25 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           26.     Answering paragraph 26 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           27.     Answering paragraph 27 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           28.     Answering paragraph 28 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
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1            29.     Answering paragraph 29 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            30.     Answering paragraph 30 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            31.     Answering paragraph 31 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           32.     Answering paragraph 32 of the complaint, this answering defendant alleges his true name
11    is spelled Mohammed Al Tekreeti, D.M.D. Defendant admits he is a licensed dentist in the State of
12    California and he formally was associated with Dr. Husam Aldairi and provided dental services in
13    conjunction with such association. Defendant further admits he resides in San Diego, Ca. Defendant
14    lacks sufficient knowledge and information to form a belief as to the truth and accuracy of the remaining
15    allegations of paragraph 32 of the complaint and, therefore, denies same.
16           33.     Answering paragraph 33 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           34.     Answering paragraph 34 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           35.     Answering paragraph 35 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           36.     Answering paragraph 36 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.778 Page 7 of 90



1            37.     Answering paragraph 37 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            38.     Answering paragraph 38 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            39.     Answering paragraph 39 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           40.     Answering paragraph 40 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           41.     Answering paragraph 41 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           42.     Answering paragraph 42 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           43.     Answering paragraph 43 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           44.     Answering paragraph 44 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           45.     Answering paragraph 45 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.779 Page 8 of 90



1            46.     Answering paragraph 46 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            47.     Answering paragraph 47 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            48.     Answering paragraph 48 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           49.     Answering paragraph 49 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           50.     Answering paragraph 50 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           51.     Answering paragraph 51 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           52.     Answering paragraph 52 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           53.     Answering paragraph 53 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           54.     Answering paragraph 54 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.780 Page 9 of 90



1            55.     Answering paragraph 55 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            56.     Answering paragraph 56 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            57.     Answering paragraph 57 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           58.     Answering paragraph 58 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           59.     Answering paragraph 59 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           60.     Answering paragraph 60 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           61.     Answering paragraph 61 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           62.     Answering paragraph 62 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           63.     Answering paragraph 63 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.781 Page 10 of 90



1            64.     Answering paragraph 64 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            65.     Answering paragraph 65 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            66.     Answering paragraph 66 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           67.     Answering paragraph 67 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           68.     Answering paragraph 68 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           69.     Answering paragraph 69 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           70.     Answering paragraph 70 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           71.     Answering paragraph 71 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           72.     Answering paragraph 72 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
     Case 3:22-cv-01056-AJB-AGS Document 21 Filed 09/06/22 PageID.782 Page 11 of 90



1            73.     Answering paragraph 73 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            74.     Answering paragraph 74 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            75.     Answering paragraph 75 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           76.     Answering paragraph 76 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           77.     Answering paragraph 77 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           78.     Answering paragraph 78 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           79.     Answering paragraph 79 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           80.     Answering paragraph 80 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           81.     Answering paragraph 82 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
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1            82.     Answering paragraph 82 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            83.     Answering paragraph 83 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            84.     Answering paragraph 84 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           85.     Answering paragraph 85 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           86.     Answering paragraph 86 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           87.     Answering paragraph 87 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           88.     Answering paragraph 88 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           89.     Answering paragraph 89 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           90.     Answering paragraph 90 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
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1            91.     Answering paragraph 91 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            92.     Answering paragraph 92 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            93.     Answering paragraph 93 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           94.     Answering paragraph 94 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           95.     Answering paragraph 95 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           96.     Answering paragraph 96 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           97.     Answering paragraph 97 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           98.     Answering paragraph 98 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           99.     Answering paragraph 99 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                   ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                       AND DEMAND FOR JURY
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1            100.    Answering paragraph 100 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            101.    Answering paragraph 101 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            102.    Answering paragraph 102 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           103.    Answering paragraph 103 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           104.    Answering paragraph 104 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           105.    Answering paragraph 105 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           106.    Answering paragraph 106 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           107.    Answering paragraph 107 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           108.    Answering paragraph 108 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            109.    Answering paragraph 109 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            110.    Answering paragraph 110 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            111.    Answering paragraph 111 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           112.    Answering paragraph 112 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           113.    Answering paragraph 113 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           114.    Answering paragraph 114 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           115.    Answering paragraph 115 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           116.    Answering paragraph 116 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           117.    Answering paragraph 117 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            118.    Answering paragraph 118 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            119.    Answering paragraph 119 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            120.    Answering paragraph 120 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           121.    Answering paragraph 121 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           122.    Answering paragraph 122 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           123.    Answering paragraph 123 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           124.    Answering paragraph 124 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           125.    Answering paragraph 125 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           126.    Answering paragraph 126 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            127.    Answering paragraph 127 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            128.    Answering paragraph 128 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            129.    Answering paragraph 129 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           130.    Answering paragraph 130 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           131.    Answering paragraph 131 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           132.    Answering paragraph 132 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           133.    Answering paragraph 133 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           134.    Answering paragraph 134 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           135.    Answering paragraph 135 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            136.    Answering paragraph 136 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            137.    Answering paragraph 137 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            138.    Answering paragraph 138 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           139.    Answering paragraph 139 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           140.    Answering paragraph 140 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           141.    Answering paragraph 141 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           142.    Answering paragraph 142 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           143.    Answering paragraph 143 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           144.    Answering paragraph 144 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            145.    Answering paragraph 145 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            146.    Answering paragraph 146 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            147.    Answering paragraph 147 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           148.    Answering paragraph 148 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           149.    Answering paragraph 149 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           150.    Answering paragraph 150 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           151.    Answering paragraph 151 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           152.    Answering paragraph 152 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           153.    Answering paragraph 153 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            154.    Answering paragraph 154 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            155.    Answering paragraph 155 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            156.    Answering paragraph 156 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           157.    Answering paragraph 157 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           158.    Answering paragraph 158 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           159.    Answering paragraph 159 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           160.    Answering paragraph 160 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           161.    Answering paragraph 161 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           162.    Answering paragraph 162 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            163.    Answering paragraph 163 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            164.    Answering paragraph 164 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            165.    Answering paragraph 165 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           166.    Answering paragraph 166 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           167.    Answering paragraph 167 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           168.    Answering paragraph 168 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           169.    Answering paragraph 169 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           170.    Answering paragraph 170 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           171.    Answering paragraph 171 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            172.    Answering paragraph 172 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            173.    Answering paragraph 173 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            174.    Answering paragraph 174 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           175.    Answering paragraph 175 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           176.    Answering paragraph 176 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           177.    Answering paragraph 177 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           178.    Answering paragraph 178 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           179.    Answering paragraph 179 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           180.    Answering paragraph 180 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            181.    Answering paragraph 181 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            182.    Answering paragraph 182 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            183.    Answering paragraph 183 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           184.    Answering paragraph 184 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           185.    Answering paragraph 185 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           186.    Answering paragraph 186 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           187.    Answering paragraph 187 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           188.    Answering paragraph 188 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           189.    Answering paragraph 189 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            190.    Answering paragraph 190 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            191.    Answering paragraph 191 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            192.    Answering paragraph 192 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           193.    Answering paragraph 193 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           194.    Answering paragraph 194 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           195.    Answering paragraph 195 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           196.    Answering paragraph 196 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           197.    Answering paragraph 197 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           198.    Answering paragraph 198 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            199.    Answering paragraph 199 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            200.    Answering paragraph 200 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            201.    Answering paragraph 201 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           202.    Answering paragraph 202 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           203.    Answering paragraph 203 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           204.    Answering paragraph 204 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           205.    Answering paragraph 205 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           206.    Answering paragraph 206 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           207.    Answering paragraph 207 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            208.    Answering paragraph 208 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            209.    Answering paragraph 209 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            210.    Answering paragraph 210 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           211.    Answering paragraph 211 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           212.    Answering paragraph 212 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           213.    Answering paragraph 213 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           214.    Answering paragraph 214 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           215.    Answering paragraph 215 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           216.    Answering paragraph 216 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            217.    Answering paragraph 217 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            218.    Answering paragraph 218 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            219.    Answering paragraph 219 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           220.    Answering paragraph 220 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           221.    Answering paragraph 221 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           222.    Answering paragraph 222 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           223.    Answering paragraph 223 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           224.    Answering paragraph 224 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           225.    Answering paragraph 225 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            226.    Answering paragraph 226 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            227.    Answering paragraph 227 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            228.    Answering paragraph 228 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           229.    Answering paragraph 229 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           230.    Answering paragraph 230 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           231.    Answering paragraph 231 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           232.    Answering paragraph 232 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           233.    Answering paragraph 233 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           234.    Answering paragraph 234 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            235.    Answering paragraph 235 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            236.    Answering paragraph 236 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            237.    Answering paragraph 237 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           238.    Answering paragraph 238 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           239.    Answering paragraph 239 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           240.    Answering paragraph 240 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           241.    Answering paragraph 241 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           242.    Answering paragraph 242 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           243.    Answering paragraph 243 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            244.    Answering paragraph 244 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            245.    Answering paragraph 245 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            246.    Answering paragraph 246 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           247.    Answering paragraph 247 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           248.    Answering paragraph 248 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           249.    Answering paragraph 249 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           250.    Answering paragraph 250 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           251.    Answering paragraph 251 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           252.    Answering paragraph 252 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            253.    Answering paragraph 253 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            254.    Answering paragraph 254 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            255.    Answering paragraph 255 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           256.    Answering paragraph 256 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           257.    Answering paragraph 257 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           258.    Answering paragraph 258 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           259.    Answering paragraph 259 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           260.    Answering paragraph 260 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           261.    Answering paragraph 261 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            262.    Answering paragraph 262 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            263.    Answering paragraph 263 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            264.    Answering paragraph 264 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           265.    Answering paragraph 265 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           266.    Answering paragraph 266 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           267.    Answering paragraph 267 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           268.    Answering paragraph 268 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           269.    Answering paragraph 269 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           270.    Answering paragraph 270 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            271.    Answering paragraph 271 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            272.    Answering paragraph 272 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            273.    Answering paragraph 273 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           274.    Answering paragraph 274 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           275.    Answering paragraph 275 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           276.    Answering paragraph 276 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           277.    Answering paragraph 277 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           278.    Answering paragraph 278 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           279.    Answering paragraph 279 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            280.    Answering paragraph 280 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            281.    Answering paragraph 281 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            282.    Answering paragraph 282 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           283.    Answering paragraph 283 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           284.    Answering paragraph 284 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           285.    Answering paragraph 285 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           286.    Answering paragraph 286 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           287.    Answering paragraph 287 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           288.    Answering paragraph 288 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            289.    Answering paragraph 289 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            290.    Answering paragraph 290 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            291.    Answering paragraph 291 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           292.    Answering paragraph 292 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           293.    Answering paragraph 293 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           294.    Answering paragraph 294 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           295.    Answering paragraph 295 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           296.    Answering paragraph 296 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           297.    Answering paragraph 297 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            298.    Answering paragraph 298 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            299.    Answering paragraph 299 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            300.    Answering paragraph 300 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           301.    Answering paragraph 301 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           302.    Answering paragraph 302 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           303.    Answering paragraph 303 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           304.    Answering paragraph 304 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           305.    Answering paragraph 305 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           306.    Answering paragraph 306 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            307.    Answering paragraph 307 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            308.    Answering paragraph 308 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            309.    Answering paragraph 309 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           310.    Answering paragraph 310 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           311.    Answering paragraph 311 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           312.    Answering paragraph 312 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           313.    Answering paragraph 313 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           314.    Answering paragraph 314 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           315.    Answering paragraph 315 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            316.    Answering paragraph 316 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            317.    Answering paragraph 317 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            318.    Answering paragraph 318 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           319.    Answering paragraph 319 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           320.    Answering paragraph 320 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           321.    Answering paragraph 321 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           322.    Answering paragraph 322 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           323.    Answering paragraph 323 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           324.    Answering paragraph 324 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            325.    Answering paragraph 325 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            326.    Answering paragraph 326 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            327.    Answering paragraph 327 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           328.    Answering paragraph 328 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           329.    Answering paragraph 329 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           330.    Answering paragraph 330 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           331.    Answering paragraph 331 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           332.    Answering paragraph 332 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           333.    Answering paragraph 333 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            334.    Answering paragraph 334 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            335.    Answering paragraph 335 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            336.    Answering paragraph 336 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           337.    Answering paragraph 337 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           338.    Answering paragraph 338 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           339.    Answering paragraph 339 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           340.    Answering paragraph 340 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           341.    Answering paragraph 341 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           342.    Answering paragraph 342 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            343.    Answering paragraph 343 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            344.    Answering paragraph 344 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            345.    Answering paragraph 345 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           346.    Answering paragraph 346 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           347.    Answering paragraph 347 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           348.    Answering paragraph 348 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           349.    Answering paragraph 349 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           350.    Answering paragraph 350 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           351.    Answering paragraph 351 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            352.    Answering paragraph 352 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            353.    Answering paragraph 353 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            354.    Answering paragraph 354 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           355.    Answering paragraph 355 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           356.    Answering paragraph 356 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           357.    Answering paragraph 357 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           358.    Answering paragraph 358 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           359.    Answering paragraph 359 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           360.    Answering paragraph 360 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            361.    Answering paragraph 361 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            362.    Answering paragraph 362 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            363.    Answering paragraph 363 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           364.    Answering paragraph 364 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           365.    Answering paragraph 365 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           366.    Answering paragraph 366 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           367.    Answering paragraph 367 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           368.    Answering paragraph 368 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           369.    Answering paragraph 369 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            370.    Answering paragraph 370 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            371.    Answering paragraph 371 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            372.    Answering paragraph 372 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           373.    Answering paragraph 373 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           374.    Answering paragraph 374 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           375.    Answering paragraph 375 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           376.    Answering paragraph 376 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           377.    Answering paragraph 377 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           378.    Answering paragraph 378 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            379.    Answering paragraph 379 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            380.    Answering paragraph 380 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            381.    Answering paragraph 381 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           382.    Answering paragraph 382 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           383.    Answering paragraph 383 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           384.    Answering paragraph 384 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           385.    Answering paragraph 385 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           386.    Answering paragraph 386 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           387.    Answering paragraph 387 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            388.    Answering paragraph 388 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            389.    Answering paragraph 389 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            390.    Answering paragraph 390 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           391.    Answering paragraph 391 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           392.    Answering paragraph 392 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           393.    Answering paragraph 393 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           394.    Answering paragraph 394 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           395.    Answering paragraph 395 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           396.    Answering paragraph 396 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            397.    Answering paragraph 397 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            398.    Answering paragraph 398 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            399.    Answering paragraph 399 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           400.    Answering paragraph 400 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           401.    Answering paragraph 401 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           402.    Answering paragraph 402 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           403.    Answering paragraph 403 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           404.    Answering paragraph 404 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           405.    Answering paragraph 405 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            406.    Answering paragraph 406 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            407.    Answering paragraph 407 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            408.    Answering paragraph 408 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           409.    Answering paragraph 409 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           410.    Answering paragraph 410 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           411.    Answering paragraph 411 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           412.    Answering paragraph 412 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           413.    Answering paragraph 413 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           414.    Answering paragraph 414 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            415.    Answering paragraph 415 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            416.    Answering paragraph 416 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            417.    Answering paragraph 417 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           418.    Answering paragraph 418 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           419.    Answering paragraph 419 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           420.    Answering paragraph 420 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           421.    Answering paragraph 421 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           422.    Answering paragraph 422 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           423.    Answering paragraph 423 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            424.    Answering paragraph 424 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            425.    Answering paragraph 425 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            426.    Answering paragraph 426 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           427.    Answering paragraph 427 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           428.    Answering paragraph 428 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           429.    Answering paragraph 429 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           430.    Answering paragraph 430 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           431.    Answering paragraph 431 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           432.    Answering paragraph 432 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            433.    Answering paragraph 433 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            434.    Answering paragraph 434 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            435.    Answering paragraph 435 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           436.    Answering paragraph 436 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           437.    Answering paragraph 437 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           438.    Answering paragraph 438 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           439.    Answering paragraph 439 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           440.    Answering paragraph 440 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           441.    Answering paragraph 441 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            442.    Answering paragraph 442 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            443.    Answering paragraph 443 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            444.    Answering paragraph 444 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           445.    Answering paragraph 445 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           446.    Answering paragraph 446 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           447.    Answering paragraph 447 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           448.    Answering paragraph 448 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           449.    Answering paragraph 449 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           450.    Answering paragraph 450 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            451.    Answering paragraph 451 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            452.    Answering paragraph 452 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            453.    Answering paragraph 453 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           454.    Answering paragraph 454 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           455.    Answering paragraph 455 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           456.    Answering paragraph 456 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           457.    Answering paragraph 457 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           458.    Answering paragraph 458 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           459.    Answering paragraph 459 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            460.    Answering paragraph 460 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            461.    Answering paragraph 461 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            462.    Answering paragraph 462 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           463.    Answering paragraph 463 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           464.    Answering paragraph 464 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           465.    Answering paragraph 465 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           466.    Answering paragraph 466 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           467.    Answering paragraph 467 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           468.    Answering paragraph 468 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            469.    Answering paragraph 469 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            470.    Answering paragraph 470 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            471.    Answering paragraph 471 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           472.    Answering paragraph 472 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           473.    Answering paragraph 473 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           474.    Answering paragraph 474 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           475.    Answering paragraph 475 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           476.    Answering paragraph 476 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           477.    Answering paragraph 477 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            478.    Answering paragraph 478 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            479.    Answering paragraph 479 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            480.    Answering paragraph 480 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           481.    Answering paragraph 481 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           482.    Answering paragraph 482 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           483.    Answering paragraph 483 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           484.    Answering paragraph 484 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           485.    Answering paragraph 485 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           486.    Answering paragraph 486 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            487.    Answering paragraph 487 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            488.    Answering paragraph 488 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            489.    Answering paragraph 489 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           490.    Answering paragraph 490 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           491.    Answering paragraph 491 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           492.    Answering paragraph 492 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           493.    Answering paragraph 493 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           494.    Answering paragraph 494 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           495.    Answering paragraph 495 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            496.    Answering paragraph 496 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            497.    Answering paragraph 497 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            498.    Answering paragraph 498 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           499.    Answering paragraph 499 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           500.    Answering paragraph 500 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           501.    Answering paragraph 501 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           502.    Answering paragraph 502 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           503.    Answering paragraph 503 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           504.    Answering paragraph 504 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            505.    Answering paragraph 505 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            506.    Answering paragraph 506 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            507.    Answering paragraph 507 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           508.    Answering paragraph 508 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           509.    Answering paragraph 509 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           510.    Answering paragraph 510 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           511.    Answering paragraph 511 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           512.    Answering paragraph 512 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           513.    Answering paragraph 513 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            514.    Answering paragraph 514 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            515.    Answering paragraph 515 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            516.    Answering paragraph 516 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a bel6ief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           517.    Answering paragraph 517 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           518.    Answering paragraph 518 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           519.    Answering paragraph 519 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           520.    Answering paragraph 520 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           521.    Answering paragraph 521 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           522.    Answering paragraph 522 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            523.    Answering paragraph 523 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            524.    Answering paragraph 524 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            525.    Answering paragraph 525 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           526.    Answering paragraph 526 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           527.    Answering paragraph 527 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           528.    Answering paragraph 528 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           529.    Answering paragraph 529 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           530.    Answering paragraph 530 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           531.    Answering paragraph 531 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            532.    Answering paragraph 532 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            533.    Answering paragraph 533 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            534.    Answering paragraph 534 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           535.    Answering paragraph 535 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           536.    Answering paragraph 536 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           537.    Answering paragraph 537 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           538.    Answering paragraph 538 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           539.    Answering paragraph 539 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           540.    Answering paragraph 540 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            541.    Answering paragraph 541 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            542.    Answering paragraph 542 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            543.    Answering paragraph 543 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           544.    Answering paragraph 544 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           545.    Answering paragraph 545 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           546.    Answering paragraph 546 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           547.    Answering paragraph 547 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           548.    Answering paragraph 548 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           549.    Answering paragraph 549 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            550.    Answering paragraph 550 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            551.    Answering paragraph 551 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            552.    Answering paragraph 552 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           553.    Answering paragraph 553 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           554.    Answering paragraph 554 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           555.    Answering paragraph 555 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           556.    Answering paragraph 556 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           557.    Answering paragraph 557 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           558.    Answering paragraph 558 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            559.    Answering paragraph 559 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            560.    Answering paragraph 560 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            561.    Answering paragraph 561 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           562.    Answering paragraph 562 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           563.    Answering paragraph 563 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           564.    Answering paragraph 564 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           565.    Answering paragraph 565 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           566.    Answering paragraph 566 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           567.    Answering paragraph 567 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            568.    Answering paragraph 568 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            569.    Answering paragraph 569 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            570.    Answering paragraph 570 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           571.    Answering paragraph 571 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           572.    Answering paragraph 572 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           573.    Answering paragraph 573 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           574.    Answering paragraph 574 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           575.    Answering paragraph 575 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           576.    Answering paragraph 576 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            577.    Answering paragraph 577 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            578.    Answering paragraph 578 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            579.    Answering paragraph 579 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           580.    Answering paragraph 580 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           581.    Answering paragraph 581 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           582.    Answering paragraph 582 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           583.    Answering paragraph 583 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           584.    Answering paragraph 584 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           585.    Answering paragraph 585 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            586.    Answering paragraph 586 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            587.    Answering paragraph 587 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            588.    Answering paragraph 588 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           589.    Answering paragraph 589 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           590.    Answering paragraph 590 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           591.    Answering paragraph 591 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           592.    Answering paragraph 592 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           593.    Answering paragraph 593 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           594.    Answering paragraph 594 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            595.    Answering paragraph 595 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            596.    Answering paragraph 596 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            597.    Answering paragraph 597 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           598.    Answering paragraph 598 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           599.    Answering paragraph 599 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           600.    Answering paragraph 600 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           601.    Answering paragraph 601 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           602.    Answering paragraph 602 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           603.    Answering paragraph 603 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            604.    Answering paragraph 604 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            605.    Answering paragraph 605 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            606.    Answering paragraph 606 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           607.    Answering paragraph 607 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           608.    Answering paragraph 608 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           609.    Answering paragraph 609 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           610.    Answering paragraph 610 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           611.    Answering paragraph 611 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           612.    Answering paragraph 612 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            613.    Answering paragraph 613 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            614.    Answering paragraph 614 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            615.    Answering paragraph 615 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           616.    Answering paragraph 616 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           617.    Answering paragraph 617 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           618.    Answering paragraph 618 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           619.    Answering paragraph 619 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           620.    Answering paragraph 620 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           621.    Answering paragraph 621 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            622.    Answering paragraph 622 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            623.    Answering paragraph 623 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            624.    Answering paragraph 624 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           625.    Answering paragraph 625 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           626.    Answering paragraph 626 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           627.    Answering paragraph 627 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           628.    Answering paragraph 628 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           629.    Answering paragraph 629 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           630.    Answering paragraph 630 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            631.    Answering paragraph 631 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            632.    Answering paragraph 632 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            633.    Answering paragraph 633 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           634.    Answering paragraph 634 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           635.    Answering paragraph 635 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           636.    Answering paragraph 636 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           637.    Answering paragraph 637 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           638.    Answering paragraph 638 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           639.    Answering paragraph 639 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            640.    Answering paragraph 640 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            641.    Answering paragraph 641 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            642.    Answering paragraph 642 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           643.    Answering paragraph 643 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           644.    Answering paragraph 644 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           645.    Answering paragraph 645 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           646.    Answering paragraph 646 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           647.    Answering paragraph 647 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           648.    Answering paragraph 648 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                                        AND DEMAND FOR JURY
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1            649.    Answering paragraph 649 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            650.    Answering paragraph 650 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            651.    Answering paragraph 651 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           652.    Answering paragraph 652 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           653.    Answering paragraph 653 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           654.    Answering paragraph 654 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           655.    Answering paragraph 655 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           656.    Answering paragraph 656 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           657.    Answering paragraph 657 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            658.    Answering paragraph 658 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            659.    Answering paragraph 659 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            660.    Answering paragraph 660 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           661.    Answering paragraph 661 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           662.    Answering paragraph 662 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           663.    Answering paragraph 663 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           664.    Answering paragraph 664 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           665.    Answering paragraph 665 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           666.    Answering paragraph 666 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
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1            667.    Answering paragraph 667 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            668.    Answering paragraph 668 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            669.    Answering paragraph 669 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           670.    Answering paragraph 670 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           671.    Answering paragraph 671 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           672.    Answering paragraph 672 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           673.    Answering paragraph 673 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           674.    Answering paragraph 674 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           675.    Answering paragraph 675 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            676.    Answering paragraph 676 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            677.    Answering paragraph 677 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            678.    Answering paragraph 678 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           679.    Answering paragraph 679 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           680.    Answering paragraph 680 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           681.    Answering paragraph 681 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           682.    Answering paragraph 682 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           683.    Answering paragraph 683 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           684.    Answering paragraph 684 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            685.    Answering paragraph 685 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            686.    Answering paragraph 686 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            687.    Answering paragraph 687 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           688.    Answering paragraph 688 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           689.    Answering paragraph 689 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           690.    Answering paragraph 690 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           691.    Answering paragraph 691 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           692.    Answering paragraph 692 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           693.    Answering paragraph 693 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            694.    Answering paragraph 694 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            695.    Answering paragraph 695 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            696.    Answering paragraph 696 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           697.    Answering paragraph 697 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           698.    Answering paragraph 698 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           699.    Answering paragraph 699 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           700.    Answering paragraph 700 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           701.    Answering paragraph 701 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           702.    Answering paragraph 702 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            703.    Answering paragraph 703 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            704.    Answering paragraph 704 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            705.    Answering paragraph 705 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           706.    Answering paragraph 706 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           707.    Answering paragraph 707 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           708.    Answering paragraph 708 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           709.    Answering paragraph 709 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           710.    Answering paragraph 710 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           711.    Answering paragraph 711 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                                        AND DEMAND FOR JURY
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1            712.    Answering paragraph 712 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            713.    Answering paragraph 713 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            714.    Answering paragraph 714 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           715.    Answering paragraph 715 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           716.    Answering paragraph 716 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           717.    Answering paragraph 717 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           718.    Answering paragraph 718 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           719.    Answering paragraph 719 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           720.    Answering paragraph 720 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            721.    Answering paragraph 721 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            722.    Answering paragraph 722 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            723.    Answering paragraph 723 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           724.    Answering paragraph 724 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           725.    Answering paragraph 725 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           726.    Answering paragraph 726 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           727.    Answering paragraph 727 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           728.    Answering paragraph 728 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           729.    Answering paragraph 729 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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                    ANSWER TO COMPLAINT BY DEFENDANT MOHAMMED AL TEKREETI, D.M.D.
                                        AND DEMAND FOR JURY
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1            730.    Answering paragraph 730 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            731.    Answering paragraph 731 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            732.    Answering paragraph 732 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           733.    Answering paragraph 733 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           734.    Answering paragraph 734 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           735.    Answering paragraph 735 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           736.    Answering paragraph 736 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           737.    Answering paragraph 737 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           738.    Answering paragraph 738 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            739.    Answering paragraph 739 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            740.    Answering paragraph 740 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            741.    Answering paragraph 741 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           742.    Answering paragraph 742 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           743.    Answering paragraph 743 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           744.    Answering paragraph 744 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           745.    Answering paragraph 745 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           746.    Answering paragraph 746 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           747.    Answering paragraph 747 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
28


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1            748.    Answering paragraph 748 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4            749.    Answering paragraph 749 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7            750.    Answering paragraph 750 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10           751.    Answering paragraph 751 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13           752.    Answering paragraph 752 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16           753.    Answering paragraph 753 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19           754.    Answering paragraph 754 of the complaint, this answering defendant lacks sufficient
20    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
21    complaint and therefore denies same.
22           755.    Answering paragraph 755 of the complaint, this answering defendant lacks sufficient
23    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
24    complaint and therefore denies same.
25           756.    Answering paragraph 756 of the complaint, this answering defendant lacks sufficient
26    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
27    complaint and therefore denies same.
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1             757.    Answering paragraph 757 of the complaint, this answering defendant lacks sufficient
2     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
3     complaint and therefore denies same.
4             758.    Answering paragraph 758 of the complaint, this answering defendant lacks sufficient
5     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
6     complaint and therefore denies same.
7             759.    Answering paragraph 759 of the complaint, this answering defendant lacks sufficient
8     knowledge and information to form a belief as to the truth and accuracy of the allegations of this
9     complaint and therefore denies same.
10            760.    Answering paragraph 760 of the complaint, this answering defendant lacks sufficient
11    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
12    complaint and therefore denies same.
13            761.    Answering paragraph 761 of the complaint, this answering defendant lacks sufficient
14    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
15    complaint and therefore denies same.
16            762.    Answering paragraph 762 of the complaint, this answering defendant lacks sufficient
17    knowledge and information to form a belief as to the truth and accuracy of the allegations of this
18    complaint and therefore denies same.
19            763.    Any allegations of the complaint not specifically admitted above are hereby denied.
20                                              FIRST AFFIRMATIVE DEFENSE
21            764.    Defendant alleges that the complaint, and each and every cause of action contained therein,
22    fails to state facts sufficient to constitute a cause of action against the defendant.
23                                        SECOND AFFIRMATIVE DEFENSE
24            765.    Defendant alleges that the claims for relief alleged in the complaint are barred by the
25    applicable statute of limitations, including but not limited to, Code of Civil Procedure §§ 335.1, 338, 339,
26    340(3), 340.5 and 340.6.
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1                                          THIRD AFFIRMATIVE DEFENSE
2            766.    Defendant alleges that plaintiff is barred from recovery herein in that the negligence of
3     plaintiff was a proximate cause of the act or acts, or event or events, alleged in the complaint, and
4     damages, if any, must be reduced in proportion to the negligence of plaintiff which caused damage to
5     plaintiff at the times and places alleged in the complaint.
6                                        FOURTH AFFIRMATIVE DEFENSE
7            767.    Defendant alleges that plaintiff, with actual or constructive knowledge of the facts alleged
8     in the complaint, was under a duty to mitigate damages, if any, and plaintiff failed to fulfill such a duty;
9     and, as a consequence, defendant is exonerated from liability to plaintiff and all damages alleged are the
10    sole and proximate result of the failure of plaintiff to mitigate damages.
11                                         FIFTH AFFIRMATIVE DEFENSE
12           768.    The complaint is further barred in that plaintiff consented expressly and impliedly to any
13    acts or conduct attributed to the defendant.
14                                         SIXTH AFFIRMATIVE DEFENSE
15           769.    Defendant alleges that the complaint is barred because defendant’s treatment of patients of
16    plaintiff and defendant’s actions as to billing, as opposed to the acts of other defendants, was at all times,
17    lawful, professional and within the standard of care.
18                                       SEVENTH AFFIRMATIVE DEFENSE
19           770.    Defendant alleges that the complaint is barred because the damages alleged by plaintiff, if
20    any, were caused either by the acts of plaintiff or the acts of a third party or parties, rather than by any
21    action of defendants. Thus, any recovery by plaintiff must be apportioned, taking into account the
22    negligence of plaintiff and any negligent third party.
23                                        EIGHTH AFFIRMATIVE DEFENSE
24           771.    Defendant alleges that the complaint is barred because all treatment by defendant was
25    pursuant to adequate informed consent and lack of informed consent did not cause plaintiff or plaintiff’s
26    patients, any injury.
27                                         NINTH AFFIRMATIVE DEFENSE
28           772.    Defendant alleges that the complaint is barred by the doctrine of accord and satisfaction.

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1                                           TENTH AFFIRMATIVE DEFENSE
2             773.      Defendant alleges that the complaint is barred by the doctrine of release.
3                                        ELEVENTH AFFIRMATIVE DEFENSE
4             774.      Defendant alleges that the complaint is barred by the doctrine of res judicata.
5                                         TWELFTH AFFIRMATIVE DEFENSE
6             775.      Defendant alleges that the complaint is barred by the doctrine of "unclean hands."
7                                       THIRTEENTH AFFIRMATIVE DEFENSE
8             776.      Defendant alleges that the complaint is barred by the doctrine of laches.
9                                       FOURTEENTH AFFIRMATIVE DEFENSE
10            777. Defendant alleges that the complaint is barred because each of the alleged negligent acts of
11    defendant, as pled in the complaint, were matters within defendant’s clinical judgment, and were
12    appropriate exercises of such judgment and are, thus, not actionable.
13                                       FIFTEENTH AFFIRMATIVE DEFENSE
14            778. Defendant alleges that the complaint, and each cause of action therein, is barred as each
15    cause of action is based solely upon communications that are privileged by Civil Code § 47 and therefore,
16    such communications are not actionable under any theory of law, including but not limited to Civil Code §
17    56 et seq.
18                                       SIXTEENTH AFFIRMATIVE DEFENSE
19            779.      Defendant, having just begun its discovery process and not having sufficient time to
20    discover all facts necessary to defend himself, hereby, alleges the following affirmative defenses, upon
21    information and belief, per Rule 8, FRCP, so as not to waive them at this time: arbitration and award;
22    assumption of risk; contributory negligence; duress; estoppel; failure of consideration; fraud; illegality;
23     injury by fellow servant; license; payment; collateral estoppel; statute of frauds; and waiver.
24                                     SEVENTEENTH AFFIRMATIVE DEFENSE
25            779.      Defendant at no time, had any knowledge of any of the improper and/or unlawful activities
26    of other defendants alleged herein and, therefore, is not responsible for any of the allegations pled against
27    this defendant.
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1                                     EIGHTEENTH AFFIRMATIVE DEFENSE
2            780.    Defendant alleges as an affirmative defense plaintiff, at no time, had the right to rely on
3     any of the improper and/or unlawful representations of other defendants alleged herein and, therefore, is
4     not responsible for any of the allegations pled against this defendant.
5                                     NINETEENTH AFFIRMATIVE DEFENSE
6            781.    Defendant alleges as an affirmative defense, this defendant, at no time, did anything as
7     regards patient care other than to provide clinical dental care and was not in any way responsible or active
8     in providing any billing services to anyone. Any and all such billing responsibilities were provided by the
9     clinics defendant worked for and their employees, agents, and staff and defendant is not responsible for
10    any acts of these persons/entities and had no knowledge of any alleged improprieties at any time.
11           WHEREFORE, the defendant prays as follows:
12           (1)     That plaintiff take nothing by way of the complaint on file herein;
13           (2)     That judgment be entered in favor of defendant;
14           (3)     That defendant be awarded costs of suit incurred
15    herein; and
16           (4)     For such other and further relief as the court deems proper.
17           PLEASE TAKE FURTHER NOTICE that this defendant in the above-captioned matter hereby
18    demands a trial by jury and have deposited the appropriate jury fees with the Court in accordance with
19    Rule 38.
20    Dated: September 6, 2022                                      ADAMS & CORZINE
21

22                                                               By s/Michael K. Pazdernik
                                                                     MICHAEL K. PAZDERNIK
23                                                                   Attorney for Defendant
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                                                                     MOHAMMED AL TEKREETI, D.M.D.

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